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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO: 9:20-cv-80847-RJS

  THE GEO GROUP, INC. and
  GEO TRANSPORT, INC.

              Plaintiffs,
  v.

  NETFLIX, INC.,

              Defendant.
  ______________________________________________/


              DEFENDANT NETFLIX, INC.’S REPLY IN FURTHER
         SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
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         Defendant Netflix, Inc. (“Netflix”) respectfully submits this reply in further support of its

  motion to dismiss the Complaint (the “Motion”). (D.E. 27).

                                  PRELIMINARY STATEMENT

         This lawsuit is about twenty-eight (28) seconds of video footage. A review of that footage

  and the pertinent episodes of Netflix’s fictional series, Messiah, is all this Court needs to dispense

  with Plaintiffs’ claims. Plaintiffs, however, seek to make this case about everything other than the

  actual video footage: they advocate for new law (such as a nonexistent third prong to Rogers test,

  which is controlling precedent); attempt to distract with concocted conspiracy theories (a supposed

  intent to “destroy” their business through the imperceptible display of their logo); and speculate as

  to Netflix’s supposed “motivations” (which are not only unfounded, but legally

  irrelevant). Plaintiffs’ Opposition attempts to divorce Plaintiffs’ claim from not just Messiah’s

  actual episodes but, incredibly, from the manipulated, enlarged, cropped and isolated screen shots

  used in their Complaint. The divide between the actual footage, Plaintiffs’ characterization of

  these episodes and controlling precedent cannot be any wider.

         Once the Court views Messiah, it becomes apparent that the fictional series’ use of the

  Plaintiffs’ marks easily satisfies the “purposefully low” artistic relevance prong of the Rogers

  test. This review confirms that the use is not “explicitly misleading,” as Netflix has not made any

  affirmative statement to mislead “consumers” into believing that Plaintiffs, operators of detention

  centers and a related transportation service, have sponsored Messiah or tried their hand at

  producing a fictional television series. The fleeting use of Plaintiffs’ marks in the context of

  Messiah is protected by the First Amendment, mandating dismissal of Plaintiffs’ trademark

  infringement-related claims.

         A review of Messiah also makes clear that Messiah does not defame either of the

  Plaintiffs. There is, for example, no statement susceptible to a defamatory interpretation

  concerning GEO Transport in the single, two-second scene in which a bus bearing its name appears

  among wreckage caused by a fictional tornado. And no reasonable viewer would perceive that the


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  fleeting moments in which GEO Group’s logos appears (together with other third-party logos), in

  the background of scenes, reasonably convey any false statement of fact about GEO Group.

  I.       PLAINTIFFS’ TRADEMARK CLAIMS SHOULD BE DISMISSED

  A.       Plaintiffs Ignore Controlling Precedent, and Seek to
           Rewrite the Well-Established Rogers Test by Adding a Third Element.

           Where, as here, a plaintiff asserts claims based on the use of a trademark in an expressive

  work such as Messiah, the Eleventh Circuit has adopted the so-called Rogers test, based on the

  Second Circuit’s seminal decision in Rogers v. Grimaldi. 875 F.2d 994, 999 (2d Cir. 1989); see

  also University of Alabama Bd. of Trustees v. New Life Art, Inc., 683 F.3d 1266 (11th Cir. 2012).

           Plaintiffs concede, as they must, that the Rogers test governs their Lanham Act claims, but

  argue, without any legal support, that there should be a “defamation exception” to Rogers.

  Specifically, Plaintiffs advocate that the creator of the expressive work should be stripped of its

  First Amendment rights if the trademark owner disapproves of the manner in which its trademark

  is depicted. (D.E. 38 at 8-9). If this were the law (and it is decidedly not), a plaintiff need only

  express displeasure or utter the word, “defamatory” and their trademark claims would survive the

  Rogers test and undermine the important First Amendment values that Rogers protects. Univ. of

  Alabama, 683 F.3d at 1277 ([T]he Lanham Act should be read narrowly to avoid impinging on

  speech protected by the First Amendment.”) (citation omitted). By limiting the exception to only

  those uses that the trademark owner agreed were in a flattering or “realistic” light, Plaintiffs’

  proposed test would not only swallow the rule, but undercut the very purpose of the First

  Amendment: to allot for artistic expression, flattering or otherwise.

           There is no support for Plaintiff’s argument, and similar arguments have been repeatedly

  rejected, including, for example, in:

       •   Louis Vuitton Malletier S.A. v. Warner Bros. Entm't Inc., 868 F. Supp. 2d 172, 175–76
           (S.D.N.Y. 2012) (relying on Rogers in dismissing plaintiff’s claim that the alleged use
           of knockoff bag in the defendant’s film “tarnish[es] the LVM Marks,”));

       •   Mattel, Inc. v. MCA Records, Inc., 296 F.3d 894, 902-03 (9th Cir. 2002) (dismissing
           plaintiff’s claim that the song Barbie Girl “tarnishes the [Barbie] mark because the


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         song is inappropriate for young girls,” applying Rogers);

    •    Roxbury Entm't v. Penthouse Media Grp., Inc., 669 F. Supp. 2d 1170, 1176 (C.D. Cal.
         2009) (relying on Rogers in dismissing plaintiff’s objection to use of its trademark in
         pornographic film).

         Indeed, in Rogers, Ginger Rogers brought both trademark and defamation claims, and both

  were dismissed. Rogers, 875 F.2d at 1005. There is no “defamation exception” to the Rogers test.

  The Court should follow the Eleventh Circuit’s clear precedent, and reject Plaintiffs’ attempt to

  make new law.

  B.     Netflix Satisfies the First Prong of the Rogers Test, as the
         Uses of the GEO Group and GEO Transport Trademarks
         Easily Clear the “Purposefully Low” Bar of Artistic Relevance.

         “The threshold for ‘artistic relevance’ is purposely low and will be satisfied unless the use

  ‘has no artistic relevance to the underlying work whatsoever.’” Louis Vuitton Malletier, S.A., 868

  at 178 (quoting Rogers, 875 F.2d at 999) (emphasis in original). A defendant need only

  demonstrate that the mark’s relevance to the artistic work is “above zero.”             Despite this

  exceedingly low threshold, Plaintiffs argue that use of a trademark cannot satisfy the “above zero”

  threshold if the expressive work paints an “inaccurate and offensive picture of the trademark’s

  associations.” (D.E. 38 at 9). Once again, this is not the law, and Courts have repeatedly rejected

  substantively similar arguments.

         In Dillinger, LLC v. Electronic Arts Inc., for example, the plaintiff held the trademark rights

  in John Dillinger, the “legendary gentleman-bandit,” famously associated with submachine guns

  known as “Tommy Guns.” See No. 1:09-CV-1236-JMS-DKL, 2011 WL 2457678, at *2 (S.D. Ind.

  June 16, 2011). Electronic Arts published multiple videogames adapted from Mario Puzo’s

  famous Godfather novels in which players could use “Dillinger Tommy Guns” to conduct an array

  of criminal activities. Id. at 3. The plaintiff complained that the use of its mark was inaccurate and

  thus could not satisfy the artistic relevance prong of the Rogers test, as Dillinger does not appear

  in the Godfather novels or movies, and was not even alive during the time period the Godfather is




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  set. The court disagreed, finding that “the ‘mental imagery’ associated with the Dillinger name

  has more than zero relevance,” to a videogame that “enables players to act like members of the

  mafia and spray Tommy Guns.” Id. at 5-6 (emphasis added). Likewise, in Roxbury Entertainment,

  the plaintiff argued that the use of its “Route 66” mark was offensive and not relevant to a film

  comprised “primarily [of] graphic sex scenes,” some of which occurred at a roadside motel. See

  669 F. Supp. 2d at 1173. The district court nonetheless held the artistic relevance prong to be

  satisfied, because there was “at least some relationship between the mental imagery associated

  with the term ‘Route 66,’ e.g., road trips, cross-country travel, and the content of,” the

  pornographic movie. Id. at 1176; Mil-Spec Monkey, Inc. v. Activision Blizzard, Inc., 74 F. Supp.

  3d 1134, 1142–43 (N.D. Cal. 2014) (“[Plaintiff] invokes no authority, nor is there any, for the

  proposition that use of a mark must sufficiently mimic reality to fall within the First Amendment’s

  safe haven.”).

         The use of the GEO Group and GEO Transport logos in Messiah is artistically relevant to

  enhancing the “look and feel” of scenes set at a fictional immigration detention center in the present

  day, serving the same purpose as costumes featuring the contemporary logos of the CIA or the

  Department of Homeland Security, which appear in some of the same scenes. See E.S.S. Entm’t

  2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1100 (9th Cir. 2008) (cartoonish recreation of

  plaintiff’s “Pig Pen” strip club was relevant to videogame developer’s artistic goal of recreating

  “look and feel” of Los Angeles neighborhood). Whether or not the fictional facility depicted in

  Messiah is an exact or flattering replica of the facilities GEO Group operates is beside the point;

  all that the artistic relevance prong requires is that there be some relationship, however tenuous,

  “between the mental imagery associated with” GEO Group’s and GEO Transport’s logos and

  immigration detention facilities. Roxbury, 669 F. Supp. 2d at 1176. That prong of the Rogers test

  is easily met here.

         Finally, contrary to Plaintiffs suggestion, there is no need for the Court to probe whether

  Netflix’s “motive” in including Plaintiffs’ trademarks in Messiah was to enhance the work’s



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  “artistic relevance.” The use is either “artistically relevant” or it is not. Motive is irrelevant. See

  Dillinger, 2011 WL 2457678, at *6 (“[I]t is not the role of the Court to determine how meaningful

  the relationship between a trademark and the content of a literary work must be; consistent

  with Rogers, any connection whatsoever is enough...”); VIRAG, S.R.L. v. Sony Computer Entm’t

  Am. LLC, No. 3:15-CV-01729-LB, 2015 WL 5000102, at *12 (N.D. Cal. Aug. 21, 2015), aff'd, 699

  F. App’x 667 (9th Cir. 2017) (“Under the first prong of the Rogers test, the court does not need to

  determine exactly how artistically relevant the VIRAG® mark is to the games; it merely has to be

  able to conclude that the artistic relevance is ‘above zero’”) (citation omitted).

  C.     Netflix Satisfies the Second Prong of the Rogers Test, as It Did
         Not Mislead the Consumer as to the Source or Content of Messiah.

         The “explicitly misleading” prong of the Rogers test focuses on whether the defendant took

  any action, separate and apart from using the trademark in the expressive work, to mislead

  consumers as to who was responsible for creating the work, E.S.S. Entm't 2000, 547 F.3d at 1100,

  not as Plaintiffs claim, whether the trademark is visible in the expressive work. (D.E. 38 at 12).

  Indeed, to be explicitly misleading, the defendant’s work must make an affirmative statement as

  to the plaintiff’s sponsorship or endorsement. See Univ. of Alabama, 683 F.3d at 1279 (holding

  painter did not explicitly mislead because “there is no evidence that Moore ever marketed an

  unlicensed item as ‘endorsed’ or ‘sponsored’ by the University.”); Vallejo v. Narcos Prods., LLC,

  No. 1:18-CV-23462-KMM, 2019 WL 5884513, at *4 (S.D. Fla. May 24, 2019) (holding Netflix

  did not explicitly mislead as to the source of its television show Narcos because “there are no

  allegations that Defendants attributed or otherwise suggested that Plaintiff was a producer of the

  show Narcos.”).

          Plaintiffs do not, and cannot, allege that Netflix made any affirmative statements or took

  any action to “explicitly mislead” viewers into believing that GEO Group or GEO Transport

  sponsored or participated in Messiah. Netflix indisputably did not market Messiah as “endorsed”

  or “sponsored” by Plaintiffs, nor did it make any statement that Messiah was affiliated with




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  Plaintiffs in any way. Rather, Messiah opens with the Netflix red “N” logo and a title card saying

  “A Netflix Original Series” at the beginning of each episode.

         The fleeting and partial images of Plaintiffs’ trademarks for a combined total of twenty-

  eight seconds, in two of the series’ ten episodes is insufficient, as a matter of law, to “explicitly

  mislead” consumers into thinking that Plaintiffs, who are in the business of operating detention

  facilities and detainee transports, branched out into the production of a fictional thriller television

  series. See Gordon v. Drape Creative, Inc., 909 F.3d 257, 270 (9th Cir. 2018) (“No one would

  think that a song . . . titled ‘Barbie’ was created by Mattel . . . [n]or would anyone think a company

  that owns one strip club in East Los Angeles also produces a technologically sophisticated video

  game.”) (internal citations and quotations omitted). Netflix easily meets the Rodgers test.

  D.     Plaintiffs Concede That Their State Law Claims Rise and Fall with the Rogers Test.

         Plaintiffs concede that the dismissal of their Lanham Act claims result in the dismissal of

  their Florida state law claims for trademark infringement, unfair competition, and violation of the

  Florida Deceptive and Unfair Trade Practices Act. See Suntree Techs., Inc. v. Ecosense Int’l, Inc.,

  693 F.3d 1338, 1345 (11th Cir. 2012). As Plaintiffs’ trademark claims fail as a matter of law, their

  state law claims should also be dismissed. See Vallejo, 2019 WL 5884513, at *5.

  II.    PLAINTIFFS’ DEFAMATION CLAIMS SHOULD BE DISMISSED

  A.     GEO Transport’s and GEO Group’s Claims Must Be Evaluated Separately.

         Rule 8 requires each plaintiff to separately and independently articulate the facts and

  circumstances giving rise to its individual causes of action. The fact that two plaintiffs may have

  a corporate affiliation does not obviate the need for each to articulate an independent cause of

  action. In re Zinc Antitrust Litig., 155 F. Supp. 3d 337, 384 (S.D.N.Y. 2016) (“Nor is it sufficient

  for plaintiffs to simply state in conclusory terms that separate legal entities are ‘sometimes

  collectively referred to’ by a shared generic name.”); see also Lane v. Capital Acquisitions & Mgmt.

  Co., No. 04-60602 CIV, 2006 WL 4590705, at *5 (S.D. Fla. Apr. 14, 2006), aff'd sub nom. Lane

  v. XYZ Venture Partners, L.L.C., 322 F. App’x 675 (11th Cir. 2009) (“[T]he Complaint fails to


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  differentiate among the defendants . . . By lumping all the defendants together . . . the [] Complaint

  fails to satisfy the minimum standard of Rule 8.”).

         GEO Transport and GEO Group are distinct corporate entities with distinct businesses.

  Any defamation claim must therefore relate to that specific company, and not to the business of

  the other entity. And while neither GEO entity states a claim for defamation, separating GEO

  Transport’s defamation claim from GEO Group’s claim further highlights its frivolity.

  B.     GEO Transport’s Defamation Claim is Frivolous.

         To state a claim for defamation, GEO Transport must allege that Messiah makes a false

  statement of fact about GEO Transport that is susceptible to a defamatory interpretation. But there

  is no statement about GEO Transport whatsoever – much less a false statement of fact – in Messiah.

  GEO Transport appears once in Messiah for a total of two seconds in episode three, in a scene

  depicting the devastating aftermath of a fictional tornado where the only structure left standing is

  a church at the center of the story. To highlight the church’s lone survival, the camera pans over

  the widespread destruction, which includes all types of destroyed vehicles, including a bus that

  bears GEO Transport’s logo. The only “statement” conceivably conveyed by this two-second shot

  is that GEO Transport’s busses, like every single other vehicle in this town, are not tornado-proof.

         GEO Transport knows full well that this glimpse of their bus (if one even catches it) is not

  a defamatory statement, and so it manufactures an after-the-fact theory: if you stitch together the

  tornado-damaged bus with a scene in a later episode which then introduces the detention facilities,

  and there is a parking lot in that later episode where GEO Transport vehicles “are authorized to

  park,”1 those images somehow combine to form a defamatory statement that subjects it to “hatred,

  distrust, [or] ridicule.” (Compl. ¶ 52). What the exact statement is remains a mystery. Any

  statement that GEO Transport’s buses are used to transport detained migrants is neither false nor



  1
    Plaintiffs argue GEO Transport is depicted when the protagonist is brought to the detention
  facility (notwithstanding that the al-Masih character is transported to that facility in a van
  prominently marked with the Department of Homeland Security logo, not GEO Transport’s logo).


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  reasonably susceptible to a defamatory meaning.

         A review of the pertinent scene within the context of Messiah dispels any contention that

  a defamatory statement has been made about GEO Transport.2 See Spilfogel v. Fox Broad. Co.,

  No. 09-CV-80813-RYSKAMP/VITUNAC, 2010 WL 11504189, at *4 (S.D. Fla. May 4,

  2010), aff'd, 433 F. App’x 724 (11th Cir. 2011) (“After viewing the episode, there is no indication

  that Ms. Spilfogel is being treated as, or could be viewed as, a criminal.”); Folta v. New York Times

  Co., No. 1:17CV246-MW/GRJ, 2019 WL 1486776, at *10 (N.D. Fla. Feb. 27, 2019)

  (“[P]ublications should be evaluated not by extremes, but as the common mind would naturally

  understand [them]”) (internal citations and quotations omitted). GEO Transport’s attempt to pad

  the anemic claims of GEO Group by jumping on the defamation bandwagon (which too would not

  survive a tornado) expose the frivolousness of its claims. GEO Transport’s claims should be

  dismissed.

         C.      Episode Four of Messiah Is Not “Of And Concerning” GEO Group

         To satisfy the “of and concerning” prong of a defamation claim, a plaintiff must

  demonstrate that the alleged defamatory statement is about the plaintiff.       That the plaintiff is

  mentioned or, in this case, that the GEO Group’ logo may be visible, is not sufficient. The question

  of whether a plaintiff is “identifiable” is a separate and distinct issue from whether the substance

  of the publication constitutes a defamatory assertion “of and concerning” the plaintiff. Cf. McIver

  v. Tallahassee Democrat, Inc., 489 So. 2d 793, 794 (Fla. DCA 1986) (holding even though

  Southeastern Realty was expressly named in newspaper article, “the entire substance of the

  publication about the alleged incident was the presumed unlawful action by the individual McIver,”

  and therefore there was no defamatory statement “of and concerning” Southeastern Realty).




  2
    Knowing this, GEO Transport resorts to the hail-Mary of “leaving it to the trier of fact.” Whether
  a statement is susceptible to defamatory interpretation is, however, a question of law for the court
  which can be determined at the motion to dismiss stage. Turner v. Wells, 879 F.3d 1254, 1262–
  63 (11th Cir. 2018) (citation omitted).


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          GEO Group would have the Court believe that episode four of Messiah, which depicts

   multiple interlocking government agencies scrutinizing the al-Masih character’s intentions and

   motivations, and makes no mention of GEO Group, is reasonably viewed by an average viewer as

   making a statement “of and concerning” GEO Group. As is clear from the relevant episodes of

   Messiah (episodes three and four), if there is a statement made, it is about agencies of the United

   States government: Al-Masih is initially arrested by a DHS officer in episode three (DVD Ex.,

   Disc 5, 25:32-25:44); in the next episode he is transported to the detention facility in a van

   prominently marked with the DHS logo (DVD Ex., Disc 5, 41:01-41:07); the DHS officer appears

   to have unfettered access to the immigration detention facility in episode four, for example

   observing al-Masih and other detained immigrants in the main holding area without a GEO Group

   guard in sight (DVD Ex., Disc 5, 43:13-43:33); he even has sufficient access to the interrogation

   rooms to plant an audio device. (DVD Ex., Disc 5, 54:17-54:38).

          While GEO Group asserts in its Opposition that “no reasonable viewer,” of Messiah would

   think that a Department of Justice attorney had decision-making power over the conditions in

   which immigrants were detained, (D.E. 38 at 7), a DOJ attorney enters the detention facility’s

   security control room unannounced in episode four, uses the monitors to observe al-Masih while

   in custody (DVD Ex., Disc 5, 1:11:24-1:11:53) and it is the DOJ attorney who is prosecuting al-

   Masih. The focus of the episode is whether to prosecute or release al-Masih; there is no focus or

   discussion about the “conditions” at the facility and certainly no discussion concerning GEO

   Group. The presence of a GEO patch on the security guard’s arm in that scene (if one even notices

   it) is incidental to creating a sense of contemporary time and place; it is no more defamatory

   towards GEO Group than towards Dunkin Donuts (whose logo is visible on the coffee cup the

   DOJ attorney hands to the security guard).

          A review of the series, and episode four in particular, in context within the broader series,

   reveals that Messiah is not attempting to make any specific statement “of and concerning,” GEO

   Group. Rather, the television series explores the nature of religious belief, and how governments



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   (the United States government in particular) react to religious movements. Messiah is not “about”

   GEO Group any more than it is “about” the General Motors vehicles used to transport al-Masih to

   the facility, or “about” the cell phones on which social media is showcased, and on that basis, its

   defamation claim should be dismissed.

                                            CONCLUSION

          For the foregoing reasons, Netflix respectfully requests that this Court enter an order

   dismissing Plaintiffs’ complaint in its entirety, with prejudice, and provide such other and further

   relief as the Court deems just and proper.




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   Dated: October 7, 2020

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                                                 s/ James G. Sammataro
                                                 Florida Bar No. 520292




                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 7, 2020, I electronically filed the foregoing

   document with the Clerk of the Court using the CM/ECF system, which will send Notices of

   Electronic Filing to all counsel of record.



                                                             s/ James G. Sammataro
                                                             James G. Sammataro




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